                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

UNITED STATES OF AMERICA,                            )
          Respondent,                                )
                                                     )
                                                     )
v.                                                   )     No. 2:12-CR-98(16)
                                                     )
JAMES MICHAEL RHODES,                                )
          Petitioner.                                )



                               MEMORANDUM AND ORDER

       This criminal case is before the Court on the defendant’s motion for a sentence reduction,

[Doc. 557]. In the defendant’s motion, the defendant requests that the Court resentence him

pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment 782 to the United States

Sentencing Guidelines (“USSG”). The government has responded, [Doc. 559], and the matter is

ripe for review. For the reasons that follow, the motion is DENIED.

       The defendant was convicted of conspiring to manufacture 50 grams or more of

methamphetamine in violation of 21 U.S.C. §§ 846, and 841(b)(1)(A). At the time of his

sentencing, the defendant’s guideline range was 108 to 135 months imprisonment based on a

total offense level of 29 and a criminal history category of III. This guideline range was

restricted by a statutory mandatory minimum of 120 months. The defendant was sentenced to

the statutory mandatory minimum of 120 months imprisonment.

       “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

it has been imposed, but the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 131 S. Ct. 3685, 2690 (2011) (internal citation and quotation marks omitted). One

exception is identified in 18 U.S.C. § 3582(c)(2):




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       [I]n the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the
       Sentencing Commission . . . , the court may reduce the term of imprisonment,
       after considering the factors set forth in section 3553(a) to the extent that they are
       applicable, if such a reduction is consistent with applicable policy statements
       issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two requirements

for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission[.]” United States v. Riley, 726 F.3d 756, 758 (6th Cir. 2013) (internal quotation

marks and citation omitted). Second, “such reduction [must be] consistent with applicable policy

statements issued by the Sentencing Commission.” Id. (internal quotation marks omitted). If the

reviewing court determines that the defendant is eligible for a sentence reduction, then “[t]he

court may then ‘consider whether the authorized reduction is warranted, either in whole or in

part, according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d 946,

949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

       In determining whether a defendant has been sentenced to a term of imprisonment based

on a sentencing range that has subsequently been lowered by the Sentencing Commission, the

Court must first determine “the amended guideline range that would have been applicable to the

defendant had the relevant amendment been in effect at the time of the initial sentencing.”

Dillon, 560 U.S. at 827 (internal quotation marks and citation omitted); see also U.S. Sentencing

Guidelines Manual § 1B1.10(b)(1).          Other than substituting Amendment 782 for the

corresponding provision applicable when the defendant was originally sentenced, the Court

“shall leave all other guideline application decisions unaffected.” Id. And the Court “shall not”

reduce a defendant’s term of imprisonment to a term “less than the minimum of the amended


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guideline range,” nor to a term “less than the term of imprisonment the defendant has already

served.” Id. § 1B1.10(b)(2)(A), (C).1 In addition to these limits, section 1B1.10 states that a

court must also consider the § 3553 factors and the danger to the public created by any reduction

in a defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-

sentencing conduct. Id.

        On the other hand, even if Amendment 782 were to lower a defendant’s offense level

under Chapter Two of the Sentencing Guidelines, a court proceeds sequentially through the

Guidelines Manual. Id. § 1B1.1. In Chapter Five, the guidelines instruct that “[w]here a

statutorily required minimum sentence is greater than the maximum of the applicable guideline

range, the statutorily required minimum sentence shall be the guideline sentence.” See U.S.S.G.

§ 5G1.1(b); United States v. Johnson, 564 F.3d 419, 423 (6th Cir. 2009); see also United States

v. Coats, 530 F. App’x 553, 555 (6th Cir. 2013).

        Because the foundation of the defendant’s sentence was his mandatory minimum

sentence, any change in his § 2D1.1 base offense level has no impact on his sentence because the

Sentencing Commission’s amendments to the guidelines have no effect on statutory minimum

sentences mandated by Congress. Coats, 530 F. App’x at 555. Thus, the defendant’s sentence

was not “based on” a sentencing range that has been lowered by Amendment 782. Because the

defendant cannot show that his sentence was “based on” a guidelines range that has been

subsequently lowered, he is not entitled to a reduction pursuant to section 3582(c).

III.    Conclusion



1
 Section 1B1.10 provides one exception to the rule that a defendant may not receive a sentence below the amended
guideline range—namely, if the defendant originally received a below-guideline sentence “pursuant to a government
motion to reflect the defendant’s substantial assistance to authorities.” U.S. Sentencing Guidelines §
1B1.10(b)(2)(B). That is not the case here.
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       For the reasons stated herein, the defendant’s motion, [Doc. 557], is DENIED. All

provisions of the Judgment, [Doc. 495], shall remain in effect.

       ENTER:



                                                                        s/J. RONNIE GREER
                                                                  UNITED STATES DISTRICT JUDGE




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